Case 4:21-cr-00339-ALM-AGD           Document 147        Filed 04/28/25     Page 1 of 2 PageID #:
                                            439



                         IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

  UNITED STATES OF AMERICA                       §
                                                 §
  v.                                             §      CASE NUMBER 4:21-CR-00339
                                                 §
  ALEJANDRO RODRIGUEZ (3)                        §


             ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S
                  REPORT AND FINDING DEFENDANT GUILTY

        The Court referred this matter to the United States Magistrate Judge for administration of

 a guilty plea under Federal Rule of Criminal Procedure 11. The Magistrate Judge conducted a

 hearing in the form and manner prescribed by Rule 11 and issued Findings of Fact and

 Recommendation on Guilty Plea. The Magistrate Judge recommended that the Court accept

 Defendant’s guilty plea and adjudge Defendant guilty on Count One of the Information.

        The parties have not objected to the Magistrate Judge’s findings.

        The Court hereby ADOPTS the Findings of Fact and Recommendation on Guilty Plea of

 the United States Magistrate Judge. The court also accepts Defendant’s plea but defers acceptance

 of the plea agreement until after review of the presentence report.

        In accordance with Defendant’s guilty plea, the Court finds Defendant Alejandro

 Rodriguez GUILTY of Count One of the Information, charging a violation of Title 21 U.S.C. §

 846 – Conspiracy to Possess with the Intent to Distribute Cocaine.

        IT IS SO ORDERED.
Case 4:21-cr-00339-ALM-AGD       Document 147   Filed 04/28/25    Page 2 of 2 PageID #:
                                        440
 SIGNED this 28th day of April, 2025.




                            ___________________________________
                            AMOS L. MAZZANT
                            UNITED STATES DISTRICT JUDGE
